                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )
                                              )
v.                                            )
                                              )       1:15-CR-10383-WGY-2
LUTHERSON BONHEUR                             )
                                              )


             ASSENTED TO MOTION TO CONTINUE RULE 11 HEARING

       Now comes Mr. Bonheur with the assent of the government and moves this Honorable

Court to continue the Rule 11 hearing presently scheduled for July 25, 2018. Assistant United

States Attorney Leah Foley assents to this motion; a continuance will allow her to be present at

the hearing as well. In the alternative to a continued Rule 11 hearing, counsel for Mr. Bonheur

requests that the court reschedule this hearing as a status conference so that counsel can update

the court.

       The defense needs additional time to consult with and advise Mr. Bonheur prior to this

hearing. Mr. Bonheur is incarcerated at a facility in New Hampshire approximately 1.5 hours

from Boston. He is represented by two attorneys from the Federal Defender’s Office.

       A Rule 11 hearing was held for Mr. Bonheur on July 12, 2018. The binding plea

agreement calls for Mr. Bonheur to plead guilty to six felony counts including significant

mandatory minimum sentences, as part of a Superseding Information. Among the courts included

in the agreement is a plea to a 924(j) count: “A person who, in the course of a violation of

subsection (c), causes the death of a person through the use of a firearm.” Question arose during

the colloquy with the Court regarding elements of the offense and issues of proof as to certain

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counts. During the hearing, Mr. Bonheur requested time to speak with his attorneys. Ultimately,

his attorneys asked for a continuance so that they could meet with Mr. Bonheur in confidence.

The Court granted this request to continue, and scheduled the hearing for July 25, 2018.

       Counsel met with Mr. Bonheur following the July 12th hearing. Mr. Bonheur

subsequently requested counsel to conduct additional research and to then consult with him. One

of his attorneys traveled to New Hampshire to meet with him again during the interim; Mr.

Bonheur’s other attorney was out on leave during the week of July 16-20, 2018. Counsel for Mr.

Bonheur respectfully asks that the Court grant this request for additional time so that he can be

effectively advised by both counsel prior to the hearing, and to fully respond to Mr. Bonheur’s

legal questions. Both counsel will travel to New Hampshire on Tuesday July 24, 2018 to meet

with him together, and can update the court on Wednesday as to the status of the case.

       Assistant United States Attorney Leah Foley assents to this request, which will allow her

to be present for the Rule 11 hearing as well. The parties have consulted with the clerk and

request that the Rule 11 Hearing be rescheduled for a date and time convenient to this Court in

September 2018.


Respectfully submitted,                              Respectfully submitted,
LUTHERSON BONHEUR                                    LUTHERSON BONHEUR

/s/ Cara McNamara                                    / s / Jo s h ua Ha n y e
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                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on July 23, 2018.


                                                          /s/ Cara McNamara
                                                          Cara McNamara




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